 Case: 1:16-cv-08637 Document #: 3562 Filed: 04/14/20 Page 1 of 3 PageID #:252499




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                               No. 1:16-cv-08637


This Document Relates To:                                Honorable Thomas M. Durkin
                                                         Magistrate Judge Jeffrey T. Gilbert
All End-User Consumer Plaintiff Actions



                                    NOTICE OF MOTION


         PLEASE TAKE NOTICE that on Tuesday, April 21, 2020, at 9:15 a.m., the undersigned

counsel will appear via telephone conference before the Honorable Judge Thomas M. Durkin, or

any judge sitting in his stead, in Room 1441 of the U.S. District Court for the Northern District

of Illinois, Eastern Division, Everett McKinley Dirksen Building, 219 South Dearborn Street,

Chicago, Illinois, and shall then and there present END-USER CONSUMER PLAINTIFFS’

MOTION FOR LEAVE TO AMEND COMPLAINT, a copy of which is herewith served upon

you.

 DATED: April 14, 2020                              HAGENS BERMAN SOBOL SHAPIRO LLP


                                                    By        s/ Shana E. Scarlett
                                                             SHANA E. SCARLETT

                                                    Rio R. Pierce
                                                    715 Hearst Avenue, Suite 202
                                                    Berkeley, CA 94710
                                                    Tel: (510) 725-3000
                                                    shanas@hbsslaw.com
                                                    riop@hbsslaw.com

                                                    Steve W. Berman
                                                    Breanna Van Engelen
                                                    HAGENS BERMAN SOBOL SHAPIRO LLP
                                                    1301 Second Avenue, Suite 2000
                                                    Seattle, Washington 98101



010636-11/1255403 V1
 Case: 1:16-cv-08637 Document #: 3562 Filed: 04/14/20 Page 2 of 3 PageID #:252500




                                          Tel: (206) 623-7292
                                          steve@hbsslaw.com
                                          breannav@hbsslaw.com
                                          Interim Lead Counsel for End-User Consumer
                                          Plaintiffs

                                          Kit A. Pierson
                                          Brent W. Johnson
                                          Alison Deich
                                          COHEN MILSTEIN SELLERS & TOLL, PLLC
                                          1100 New York Ave. NW
                                          Suite 500, West Tower
                                          Washington, DC 20005
                                          Tel: (202) 408-4600
                                          kpierson@cohenmilstein.com
                                          bjohnson@cohenmilstein.com
                                          adeich@cohenmilstein.com

                                          Daniel H. Silverman
                                          COHEN MILSTEIN SELLERS & TOLL, PLLC
                                          190 South LaSalle Street, Suite 1705
                                          Chicago, IL 60603
                                          Tel: (312) 357-0370
                                          dsilverman@cohenmilstein.com
                                          Additional Counsel for End-User Consumer
                                          Plaintiffs




010636-11/1255403 V1
 Case: 1:16-cv-08637 Document #: 3562 Filed: 04/14/20 Page 3 of 3 PageID #:252501




                                  CERTIFICATE OF SERVICE

         The undersigned, an attorney, hereby certifies that on April 14, 2020, a true and correct

copy of the foregoing was electronically filed by CM/ECF, which caused notice to be sent to all

counsel of record.

                                                      s/ Shana E. Scarlett
                                                      SHANA E. SCARLETT




010636-11/1255403 V1
